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IN THE UNITED STATES DISTRICT COURT pain ga 7 D_¢;_
FoR THE WESTERN DISTRICT oF T__ENNESSEE
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UNITED STATES OF AMERICA )

Plaintiff, §
VS § CR. NO. 04-20217-1\/11
AARON DEMAR BOONE §

Defendant. ))

 

ORDER TO SURRENI)ER

 

The defendant, Aaron Demar Boone, having been sentenced in the above case to the custody of
the Bureau of Prisons and having been granted leave by the Court to report to the designated facility, IS
HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI YAZOO, P.O.
Box 5050, Yazoo City, MS 39194 by 2:00 p.m. on THURSDAY, JUNE 30, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Oftice of the Clerk, Federal Oft`lce Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant will report as ordered to the facility named above.

ENTERED this the f:b day of June, 2005.

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PHIPPS McCALLA

  
 

 

Tb`=s doctor-ant entered on the docket shea/t in c?phaneo
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ACKNOWLEDGMENT

l agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

   

UNITED STEATS DISTRICT COURT - WESERT DISTRICT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 62 in
case 2:04-CR-202]7 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

Dan Nevvsom

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Robert C. Irby

LAW OFFICE OF ROBERT C. IRBY
4345 E. Mallory

l\/lemphis7 TN 381 ll

Honorable J on l\/lcCalla
US DISTRICT COURT

